                  Case 19-10289-LSS                      Doc 410-1            Filed 04/23/19              Page 1 of 23



                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


In re:                                                                          Chapter 11

IMERYS TALC AMERICA, INC., et al.,1                                             Case No. 19-10289 (LSS)
                                                                                Jointly Administered
                                             Debtors.
                                                                                Re: D.I. 100, 347, 348



    COMPENDIUM OF TRANSCRIPTS CITED IN THE OFFICIAL COMMITTEE OF
      TORT CLAIMANTS’ OMNIBUS (I) REPLY IN SUPPORT OF THE DEBTORS’
     MOTION FOR ENTRY OF AN ORDER APPOINTING JAMES L. PATTON, JR.
       AS LEGAL REPRESENTATIVE FOR FUTURE TALC PERSONAL INJURY
       CLAIMANTS AND (II) RESPONSE IN OPPOSITION TO THE MOTION OF
     THE UNITED STATES TRUSTEE TO APPOINT A LEGAL REPRESENTATIVE
              FOR FUTURE TALC PERSONAL INJURY CLAIMANTS

Transcript                                                                                                                            Exhibit

In re Maremont Corp., Case No. 19-10118 (KJC) (Bankr. D. Del.) Hr’g Tr. 76-78
& 100-103, Mar. 8, 2019 ...........................................................................................................1

In re Leslie Controls Inc., No. 10-12199 (CSS) (Bankr. D. Del.) Hr’g Tr. p. 70–72,
Aug. 9, 2010 ...............................................................................................................................2

In re Thorpe Insulation Co., No. 2:07-19271-BB (Bankr. C.D. Cal.) Hr’g Tr. 43–46,
Dec. 12, 2007 .............................................................................................................................3




1
  The above-captioned debtors in these cases (the “Debtors”), along with the last four digits of each Debtor’s federal
tax identification number, are: Imerys Talc America, Inc. (“ITA”) (6358), Imerys Talc Vermont, Inc. (9050), and
Imerys Talc Canada Inc. (6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell, Georgia
30076.
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            EXHIBIT 1
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1                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
2
                                     .          Chapter 11
3    IN RE:                          .
                                     .          Case No. 19-10118 (KJC)
4
     MAREMONT CORPORATION, et al.,   .
5                                    .          Courtroom No. 5
                                     .          824 North Market Street
6                                    .          Wilmington, Delaware 19801
                                     .
7                       Debtors.     .          March 8, 2019
     . . . . . . . . . . . . . . . . .          10:00 A.M.
8
                           TRANSCRIPT OF HEARING
9                   BEFORE THE HONORABLE KEVIN J. CAREY
                      UNITED STATES BANKRUPTCY JUDGE
10
     APPEARANCES:
11

12   For the Debtors:            James Conlan, Esquire
                                 Andrew O’Neill, Esquire
13                               Allison Ross Stromberg, Esquire
                                 Blair Warner, Esquire
14                               John Skakun, III, Esquire
                                 SIDLEY AUSTIN LLP
15                               One South Dearborn Street
                                 Chicago, Illinois 60603
16

17

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23   Proceedings recorded by electronic sound recording,
     transcript produced by transcription service.
24

25
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1    now, Mr. Schepacarter?

2                  MR. SCHEPACARTER:    Yes, Your Honor.        Thank you for

3    that break.    It was needed, let’s say.

4                  For the record, it’s good afternoon now, Richard

5    Schepacarter for the United States Trustee.

6                  Let me sort of address some of the arguments that

7    have been made in opposition.       But I first want to state

8    that, you know, the appointment of a future claims rep or an

9    FCR it’s an important and appropriate form of relief in a

10   chapter 11 case involving significant asbestos liabilities.

11   And it’s the Court and no one else who has the statutory

12   authority to make that appointment.

13                 THE COURT:   That’s what the Code says.

14                 MR. SCHEPACARTER:    Yes.    Right.     The absence of

15   any statutory role for the debtor or the present asbestos

16   claimants represented by the committee here in the selection

17   of the futures claims rep confirms that it is a highly

18   sensitive role that requires complete independence.

19                 Our office does not object to the appointment of

20   the future claims rep, but we do object to the process that

21   was used here to appoint an FCR basically by the debtors or

22   the parties in interest which disregards the Court’s and the

23   statutory authority that’s set forth in the Code.

24                 THE COURT:   Well, interestingly enough as I sit

25   and hear the things I’ve heard today, and in preparation for
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1    this hearing, the Code says, 524 says the Court shall

2    appoint, but it doesn’t say who should propose.

3                So frankly, I’m not sure that it’s inappropriate

4    for the U.S. Trustee to also propose an FCR.              If for some

5    reason the U.S. Trustee thinks that the debtor has proposed

6    someone who doesn’t meet the standard, whatever I say it will

7    be in a few minutes.

8                And unfortunately this is an issue because of,

9    I’ll confess, in getting ready for it what I had to look at

10   in terms of decisions by other courts were largely bench

11   rulings.   And as you know, I think not just me but I think my

12   colleagues as well, are loathe to rely on opinions that

13   aren’t reported.      But that’s pretty much, pretty much, what

14   I’m left with here.      And that’s why I would like to write on

15   it, but unfortunately given the time constraints and the fact

16   that I don’t plan to be in the office next week and with

17   confirmation coming up, combined disclosure and confirmation

18   coming up, I think I’ll have to make a bench ruling.

19               MR. SCHEPACARTER:       Understood, Your Honor.          And I

20   think I’m going to, I want to try to address some of those,

21   the standard “the standard” that’s applied, issue, not the

22   standard issue, but try to delve into that a little bit for

23   Your Honor, then maybe that will be helpful.

24               And as Your Honor sort of just touched upon, we

25   have sort of opened up the pool of candidates here.                We’ve
       Case 19-10289-LSS   Doc 410-1   Filed 04/23/19   Page 6 of 23
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1    proposed two candidates, one who is here present and I

2    understand that the parties object to Mr. Connolly's

3    declaration.   Although we don’t offer it into evidence, I

4    think Your Honor can take judicial notice of it and I’ll get

5    to that point in a second, is that we offered the candidates,

6    not unlike you would do with a fee examiner, we offered names

7    and the Court has the opportunity to either reach out to

8    those parties or interview those parties.            Just because Mr.

9    Connolly isn’t here, doesn’t mean he’s not available for

10   interview at some point of time.

11               THE COURT:    Although from Judge Bonapfel’s

12   comments that I saw in the transcript, he didn’t seem too

13   inclined to want to be the interviewer of a number of

14   different candidates.     And, frankly, I would tend to agree

15   with him.

16               MR. SCHEPACARTER:      Okay.     I mean, since it’s Your

17   Honor’s appointment, Your Honor, the Judges can do what they

18   feel is necessary and not just fully understand it.

19               THE COURT:    Okay, so to that point exactly.         And

20   again, I mentioned it the first day, Judge Bluebond mentioned

21   it in the case she had and that is the Code has moved, both

22   in the acumen of the Code and thereafter, has moved away from

23   having Judges choose professionals.         So when you say the

24   Judge can do whatever he can, I think what Congress tried to

25   do in the Code and has done since the enactment of Code was
       Case 19-10289-LSS   Doc 410-1   Filed 04/23/19   Page 7 of 23
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1    independent.

2                The Trustee notes the debtor motions for the

3    appointment of an FCR have rarely, if ever, been denied and

4    contends that this results in an incentive for the debtors to

5    appoint an FCR that will be unlikely to vigorously litigate

6    against them often resulting in a decrease in payment

7    percentages to asbestos trusts.

8                Trustee also encourages the Court to limit the

9    amount of deference given to the debtors’ nomination.

10   Trustee contends that because section 524(g) directs the

11   Court to appoint the FCR, the Court’s role is an active one,

12   different from the appointment of other estate professionals.

13   The Trustee likens the debtors’ appointment of an FCR to the

14   target of an investigation being allowed to choose the

15   section 1104 examiner who will conduct that investigation

16   where the debtor in possession being allowed to appoint the

17   members of a creditors committee.         Oh, wouldn’t that be fun.

18               The Trustee requests additional oversight by the

19   Court and increased scrutiny into not only the

20   disinterestedness of a candidate but also the effectiveness.

21   Rendering this decision I give neither more nor less

22   deference to the debtors’ nomination.

23               The ad hoc committee has filed a response to the

24   U.S. Trustee's motion and contends that Mr. Patton’s

25   appointment as FCR is fair and reasonable, and indicates that
       Case 19-10289-LSS   Doc 410-1   Filed 04/23/19   Page 8 of 23
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1    Mr. Patton’s prepetition dealings were result of arms length

2    negotiations that resulted in the form of the plan and trust

3    distribution procedures.

4                The ad hoc committee shows concern for efficiency

5    and necessity in appointing a new FCR saying that if a new

6    FCR is engaged, that individual may well seek to retain a

7    separate cadre of professionals including asbestos estimation

8    legal counsel and financial advisors.

9                Each of these parties would then complete the same

10   analysis that was performed already by each of the

11   professionals already engaged while adding significant delay

12   and costs to these cases.

13               The ad hoc committee goes on to say that accepting

14   the position of the U.S. Trustee under these facts would

15   effectively destroy the ability to effectuate a prepackaged

16   bankruptcy case in its best and driven cases.             I’m not sure

17   it would destroy it, but I think it certainly at least under

18   these circumstances would impair it.

19               So for these reasons the Court will grant the

20   debtors’ motion to allow Mr. Patton to serve as the FCR.             And

21   in this case I apply the disinterestedness standard in

22   determining whether he should be appointed and whether the

23   debtors’ application to appoint him should be granted under

24   Section 101(14).

25               If it is correct that investigation into the
       Case 19-10289-LSS   Doc 410-1   Filed 04/23/19   Page 9 of 23
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1    process of FCR appointments is necessary or to the extent the

2    system is flawed, that seems to be an exercise to be

3    undertaken by authorities other than the judiciary.

4                 Mr. Patton has been involved in this case for over

5    a year, successfully assisting the stakeholders in getting to

6    a prepackaged plan.     Much money and time has already been

7    spent by Mr. Patton as his role, in his role as prepetition

8    FCR and it seems under these circumstances counterintuitive

9    to want to pay someone new to spend time and money getting

10   caught up.

11                Specifically, Mr. Patton is chairman of Young

12   Conaway, he has more than 30 years of experience with

13   asbestos litigation, bankruptcies and settlement trust.           He

14   serves as the FCR in Leslie Controls, UGL, Yarway, two of

15   which anyway are handled by my colleagues or were handled by

16   my colleagues.

17                Mr. Patton and his firm have represented other

18   future claimants in a number of asbestos related cases.           He’s

19   not a creditor of the debtors and does not have an interest

20   materially adverse to any of the claimants.

21                The Trustee has not made a showing that Mr. Patton

22   would be anything but someone with undivided loyalties and

23   effective and independent.

24                So with that I will enter an order approving the

25   appointment of Mr. Patton and denying the U.S. Trustee’s
      Case 19-10289-LSS   Doc 410-1    Filed 04/23/19   Page 10 of 23
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1    motion.   I’ll ask that parties confer and submit an order

2    under certification providing for that.

3                  Are there any questions about what should go in

4    the order?    I hear none.    Shall we address remaining items on

5    the agenda?

6                  MR. HARRON:    Thank you, Your Honor.         Again, for

7    the record, Ed Harron, counsel for the now approved futures

8    rep.

9                  I believe the only two remaining agenda items are

10   the motions of the futures rep to retain Young Conaway and to

11   retain Ankura Consulting.

12                 We had some questions from the Office of the

13   United States Trustee to which we responded.             And then we had

14   an informal agreement not to press those applications until

15   Your Honor ruled on the FCR motion.

16                 If it pleases the Court, we simply can file

17   certificates of no objection at this time and handle it that

18   way.

19                 THE COURT:    Is the U.S. Trustee okay with that?

20                 MR. SCHEPACARTER:     That’s fine, Your Honor.

21                 THE COURT:    All right.     Is there anything else

22   that we need to talk about today?

23                 MR. HARRON:    Thank you, Your Honor.

24                 MR. O’NEILL:   As Your Honor noted, we do have the

25   confirmation hearing scheduled for March 18th.              Just for
      Case 19-10289-LSS   Doc 410-1   Filed 04/23/19   Page 11 of 23
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1               I also see no reason why given the fact that the

2    Code does not specify who has the right to ask for a future

3    claims rep, the U.S. Trustee can’t participate by making its

4    own suggestions.     I found in this case it was not appropriate

5    for the reasons I expressed.       Maybe in a different case it

6    would be different.    But I certainly do not fault the U.S.

7    Trustee for exercising what it views as its role in

8    protecting the integrity of the process.

9               MR. O’NEILL:     Thank you, Your Honor.

10              THE COURT:     With that done, we will adjourn.

11   Thank you all very much.

12              MR. O’NEILL:     Thank you, Your Honor.

13         (Proceedings adjourned 1:02 p.m.

14

15                               CERTIFICATE

16

17   We certify that the foregoing is a correct transcript from
18   the electronic sound recording of the proceedings in the
19
     above-entitled matter.
20

21
     /s/Mary Zajaczkowski                              March 10, 2019
22   Mary Zajaczkowski, CET**D-531
23
     /s/Theresa Pullan                                 March 10, 2019
24
     Theresa Pullan, CET**D-972
25
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        EXHIBIT 2
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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE


IN RE:                             )     Case No. 10-12199 (CSS)
                                   )     (Jointly Administered)
                                   )
LESLIE CONTROLS, INC.,             )     Chapter 11

                                   )     Courtroom 6
                                   )     824 Market Street
             Debtors.              )     Wilmington, Delaware
                                   )
                                   )     August 9, 2010
                                   )     3:06 p.m.


                     TRANSCRIPT OF PROCEEDINGS
        BEFORE THE HONORABLE JUDGE CHRISTOPHER S. SONTCHI
                  UNITED STATES BANKRUPTCY JUDGE


APPEARANCES:

For Debtors:                Cole Schotz Meisel Forman &
                            Leonard, PA
                            BY: NORMAN PERNICK, ESQ.
                            BY: MARIAN QUIRK, ESQ.
                            500 Delaware Avenue, Ste. 1410
                            Wilmington, DE 19801
                            302-652-2012

ECRO:                       LESLIE MURIN

Transcription Service:      DIAZ DATA SERVICES
                            331 Schuylkill Street
                            Harrisburg, Pennsylvania 17110
                            (717) 233-6664
                            www.diazdata.com

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 1               THE COURT:    All right, thank you.          Well I'm going

 2   to grant the motions and overrule the objections subject to

 3   a couple comments or in addition I'll provide some comments.

 4               One, in connection with the narrow issues in

 5   front of the Court today which are -- is in effect the

 6   retention -- well the appointment and -- of the FCR and the

 7   retention of its counsel.        I think it's a very weak argument

 8   that the insurers have standing on that issue.              I think that

 9   in all likelihood were I to rule on it as opposed to

10   assuming it, I would rule there was no standing.              But given

11   where I am on the merits, I need not reach the standing

12   issue.   So assuming arguendo that the -- excuse me, that the

13   insurers have standing, I will nonetheless overrule the

14   objection based on the merits of their objection.

15               Specifically in connection with what standard

16   applies, I am going to apply the disinterestedness test.

17   And I would note that the disinterested test is the highest

18   level of duty or standard in the Bankruptcy Code for the

19   appointment of anybody.     It -- the legislative history of

20   the disinterestedness test goes back 70 years and came out

21   of the equity receivership issues that were identified in

22   the 1930's as being abusive.        And were designed specifically

23   to get pre-petition committees like they existed in those

24   days, as well as, lawyers who were appointing themselves all

25   the time out of the system and it's very strict.              So I don't
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 1   think the disinterestedness test is some sort of layup, it's

 2   quite stringent.     And I also think it's the appropriate

 3   standard to apply in this case since none is specifically

 4   identified.

 5                 There are issues about appearance, you know,

 6   actual conflict of interest versus implied conflict of

 7   interest, et cetera that could be applied.             But in any

 8   event, I don't believe and I find that there are no such

 9   allegations or concerns in this case.             I think the

10   appointment of a future claims representative to assist in

11   connection with negotiating the prepackaged plan is

12   appropriate and in many ways I would say preferable.               I

13   don't believe there's anything in the statute that -- well

14   first of all, the Bankruptcy Code doesn't say pre-negotiated

15   plan anywhere in it.    It talks about plans and it talks

16   about pre-packed plans. There is no such thing in the

17   Bankruptcy Code as a pre-negotiated plan.            It is something

18   that is developed over time and is a very efficient way to

19   get in and out of bankruptcy usually.             Designed to get a

20   case through, usually a case that really only involves a

21   financial restructuring, a fixing of the balance sheet, not

22   substantive business like issues.        And that's what we have

23   here.   This company is not in bankruptcy to fix itself from

24   an operational standpoint.       It's in bankruptcy to deal with

25   in effect a financial restructuring.
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 1                 So to say somehow that 524(g), you know, doesn't

 2   contemplate or a prepackaged plan of -- excuse me, a pre-

 3   negotiated plan of reorganization I think misses the point.

 4   The point is whether having Mr. Patton operating as an FCR

 5   pre-petition and post petition somehow is so improper or

 6   makes him not disinterested in such a way as to prevent him

 7   being hired on a post-petition basis.             And it -- clearly in

 8   my mind it does not.

 9                 I do not believe and do not find as -- I find

10   that Mr. Patton was not an employee of the debtor within the

11   previous two years.    I believe that the analogy of an ad hoc

12   committee, if you will, where the debtor is marrying the

13   burden of paying the cost of its adversaries is not uncommon

14   and, you know, the debtor should get used to it because once

15   they file bankruptcy it gets even worse.            So that doesn't --

16   that -- in this situation, that does not violate the

17   disinterestedness test.

18                 Obviously, Mr. Patton is well-known to the

19   asbestos bar.    He's well-known to the bankruptcy bar

20   nationally.    He's well-known to the Delaware bar.            And I

21   have no doubt in my mind that he will work diligently on

22   behalf of the future claimants.        And I think it's an

23   interesting comment to say well the Court should appoint him

24   and not the debtor.    Well I am -- the act that I'm being

25   asked to do is to appoint him.       He's been brought forward by
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            EXHIBIT 3
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 1                       UNITED STATES BANKRUPTCY COURT
 2                       CENTRAL DISTRICT OF CALIFORNIA
 3                                    --oOo--
 4 In Re:                                 ) Case No. LA07-19271-BB
                                          )
 5 THORPE INSULATION COMPANY,             ) Los Angeles, California
                                          ) Wednesday, December 12, 2007
 6              Debtor.                   ) 10:00 a.m.
                                          )
 7
                                          APPLICATION TO EMPLOY MORGAN,
 8                                        LEWIS & BOCKIUS, LLP AS
                                          SPECIAL INSURANCE COUNSEL AND
 9                                        ASSUMPTION OF PRE-PETITION
                                          RETENTION AGREEMENT
10
                                          APPLICATION TO EMPLOY CAPLIN &
11                                        DRYSDALE AS CHARTERED NATIONAL
                                          BANKRUPTCY COUNSEL FOR THE
12                                        OFFICIAL COMMITTEE OF
                                          UNSECURED CREDITORS OF THORPE
13                                        INSULATION COMPANY
14                                        APPLICATION TO EMPLOY HELLER,
                                          EHRMAN, LLP AS BANKRUPTCY CO-
15                                        COUNSEL FOR THE OFFICIAL
                                          COMMITTEE OF UNSECURED
16                                        CREDITORS OF THORPE INSULATION
                                          COMPANY
17
                                          APPLICATION FOR APPOINTMENT OF
18                                        THE HONORABLE CHARLES B.
                                          RENFREW (RET.) AS FUTURES
19                                        REPRESENTATIVE
20                                        APPLICATION TO EMPLOY GARY
                                          SCOTT FERGUS AS ATTORNEY FOR
21                                        FUTURES REPRESENTATIVE
22                                        APPLICATION TO EMPLOY
                                          HONORABLE CHARLES B. RENFREW
23                                        AS FUTURES REPRESENTATIVE
24
   Proceedings recorded by electronic sound recording;
25 transcript produced by transcription service.




                                                                Echo Reporting, Inc.
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 1              THE COURT:      And are there any cases that you can
 2 cite me to where a judge has refused to appoint a futures

 3 representative based on any of the kinds of arguments that

 4 you're making, mainly the fact that there's been employment

 5 by that future representative in other cases?

 6              MR. PLEVIN:      No, I can't, your Honor.          I've made
 7 the argument.         The court in Congoleum disagreed with us, the
 8 court in W.R. Grace disagreed with us, and the court in Mid

 9 Valley found we didn't have standing, so it didn't reach the

10 merits.

11              THE COURT:      Uh-huh.
12              MR. PLEVIN:      Those are, I think, the only three
13 cases in which insurers have raised this issue.

14              THE COURT:      Okay.
15              MR. PLEVIN:      So I'm asking you to make new law,
16 and I'm doing it on the basis of asking you to look at the

17 purpose of 524(g), the history of 524(g) and the reason why

18 that's there.

19              As I said, the way this ought to work is that they
20 ought to come to the Court and say, your Honor, appoint a

21 future claimants representative.             You should then find
22 someone through whatever process you choose to use who does

23 not have prior connections with the Debtor or with the

24 current claimants and appoint that person.

25              And that person can then go forward and do all the




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                                                                                44

 1 things that Mr. Renfrew would be doing in this case if he's

 2 actually appointed, but they would be doing so without the

 3 taint or potential taint of any questions about prior

 4 connections that they've had with any of the parties in this

 5 case.

 6              THE COURT:     Okay.
 7              MR. PLEVIN:     And I don't think that -- whatever
 8 Mr. Renfrew's personal qualifications are or might be, I

 9 don't think he's unique.          Certainly there are other future
10 claimants representatives throughout the country who have

11 been appointed, some multiple times.               There are others, I'm
12 sure, who could do a fine job, even though they've never

13 been appointed.

14              THE COURT:     Okay.    Well, thank you.        I don't agree
15 that there's a problem with Mr. Renfrew.               I think that --
16 you've made the argument about how it's different when you

17 have a client who can monitor the process, but whenever I

18 look at professionals in bankruptcy, I'm asked to appoint

19 somebody only if they're disinterested.              And that's a pretty
20 high standard.        As we all know, it's different from what
21 would be a conflict of interest out in the real world.

22              And to be disinterested, it seems to me that
23 disinterested in the standard is sufficient here, and that

24 the kinds of connections that you're talking about, the

25 kinds of past experiences, the kind of -- you know, having




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 1 done this work before, having worked in cases where the

 2 other -- the other parties have played similar roles is not

 3 enough to disqualify you or to keep you from being

 4 disinterested.

 5              And again, as far as the prepetition
 6 representation goes, I don't think that's problematic either

 7 in that it is an aligned representation.                It's aligned with
 8 the representations he's doing now.                It's not that he
 9 represented something different before.

10              I understand your point.         I just don't agree with
11 it.    And I think that this is a situation where even -- I
12 don't believe that it's appropriate for the judge to pick

13 the person in the sense that -- the policies that drove

14 getting me out of the business of appointing trustees, I

15 think, are comparable here.          So I don't think it's
16 appropriate for me to appoint my brother-in-law or whoever I

17 want it to be.

18              However, were I do solicit nominees and parties
19 were to come forward to me, and if Judge Renfrew or Mr.

20 Renfrew were one of them, I would not be concerned about the

21 prior experience that you're describing.                In fact, I think
22 it's -- I think here it's a good thing.                He's done this kind
23 of thing before.        He knows how to do this kind of thing.
24 He's already hit the ground running because he's already

25 been involved.        He already knows the specific facts of this




                                                                Echo Reporting, Inc.
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                                                                                46

 1 case.

 2              I think there's some cost savings to be achieved,
 3 some time savings to be achieved.            We're all eager to see
 4 this case get to confirmation sooner -- a confirmation

 5 hearing sooner rather than later.            The Debtor is asking in
 6 the case management conference to set a plan of filing a

 7 deadline of the initial exclusivity date.               That means we've
 8 got to get -- we've got to get moving quickly.                And I think
 9 somebody who was already at the table prepetition is a good

10 party to pick for that reason because that person, as I say,

11 is already doing the work, is already in it, doesn't have to

12 start fresh.

13              And were we to disqualify him at this point and
14 have to start afresh, you'd be making new phone calls, you'd

15 be trying to get somebody around the holidays to get

16 involved in this case, to learn something about this case,

17 and I think you'd get nowhere on this case for a couple of

18 months down the road until you had somebody new at the

19 table.     And I'd like to see us move forward more quickly
20 than that.

21              So as I said, I hear your arguments, I understand
22 them, but I don't agree with them.

23              MR. PLEVIN:     Your Honor, not to belabor the
24 argument, but I just wanted to see if I can confirm that

25 you're using the 101-14 disinterestedness standard in




                                                               Echo Reporting, Inc.
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 1              I certify that the foregoing is a correct
 2 transcript from the electronic sound recording of the

 3 proceedings in the above-entitled matter.

 4

 5
     Transcriber                                 Date
 6
     FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
 7

 8
   L.L. Francisco, President
 9 Echo Reporting, Inc.

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